                        Case 1:10-cr-10272-DPW Document 51 Filed 09/22/11 Page 1 of 13


 ~AO 245B(05-MA)           (Rev. 06/05) Judgment in a Criminal Case
                            Sheet I-D. Massachusens - 10/05




                                         UNITED STATES DISTRICT COURT
                                                            District of Massachusetts

           UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                              V.
                                                                          Case Number: I:             10 CR 10272         - 001 - DPW
                KEVIN CHARBONIER                                          USM Number: 93339-038
                                                                           Paul J. Garrity
                                                                          Defendant"s Anomey                        r7l
                                                                                                                    L.!..J Additional documents attached
                                                                                              ORDER OF FORFEITURE (MONEY JUDGMENT)

 D
 THE DEFENDANT:
[Z] pleaded guilty to count(s)      1 of the Indictment on 5/17/11
D pleaded nolo contcndere to count(s)
    which was accepted by the court.
D was found guilty on count(s)
    after a plea of not guilty.

 The defendant is adjudicated guilty of these offenses:                                              Additional Counts - See continuation page     D
 Title & Section                   Nature of Offense                                                           Offense Ended               Count
18 USC § 371                 CONSPIRACY TO COMMIT MAIL AND WIRE FRAUD                                             11/06           1 of I




        The defendant is sentenced as provided in pages 2 through               10        of this judgment. The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.

D The defendant has been found not guilty on count(s)
D Count(s)                                        0 is 0 are dismissed on the motion of the United States.
          It is ordcred that the defendant must notify the United States attorney for this district within 30 days of any change of name. residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by thisjudgment are fully paid. Ifordered to pay restitution,
 the defenaant must notify the court and United States attorney of material changes in economic circumstances.




                                                                             The Honorable Douglas P. Woodlock
                                                                             Judge, U.S. District Court
                                                                           Name and Title of Judge

                                                                             ~1II~~6tr 21) /4/1
                       Case 1:10-cr-10272-DPW Document 51 Filed 09/22/11 Page 2 of 13

~AO 245B(05-MA)       (Rev. 06/05) Judgment in a Crimmal Case
                      Sheet 4 . D Massachusetts - 10/05

                                                                                                         Judgment-Page        2    of         10
DEFENDANT:
CASE NUMBER:             1: 10 CR 10272              - 001 - DPW
                                                                PROBATION                                        [Z] See continuation page
The defendant is hereby sentenced to probation for a term of:                2    year(s)




The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, not to exceed 104 tests per year, as directed by the probation officer.
D      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
IZl The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, ifapplicable.)
IZl The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 D     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    Ifthisjudgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                       STANDARD CONDITIONS OF SUPERVISION
  I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
         each month;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
        substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
        felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 II)    the defendant shall notiry the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permiSSion of the court; and
 13)    as directed by the probation officer, the defendant shall notiry third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendants compliance with such notification requirement.
                  Case 1:10-cr-10272-DPW Document 51 Filed 09/22/11 Page 3 of 13

~AO 245B(05-MA)   (Rev. 06/05) Judgment in a Criminal Case
                  Sheet 4A - Continuation Page - Supervised ReleaselProbation -10105

                                                                                       Judgment-Page ----L. of _..:.;;10_ _
DEFENDANT:
CASE NUMBER: 1: 10 CR 10272                      - 001 - DPW

                       ADDITIONALD SUPERVISED RELEASE!ZJPROBATION TERMS

      SO LONG AS HIS FINANCIAL OBLIGATIONS UNDER THIS JUDGMENT ARE OUTSTANDING,
      DEFENDANT IS PROHIBITED FROM INCURRING NEW CREDIT CHARGES OR OPENING
      ADDITIONAL LINES OF CREDIT WITHOUT THE APPROVAL OF THE PROBATION OFFICER.

      DEFENDANT IS TO PROVIDE THE PROBATION OFFICER ACCESS TO ANY REQUESTED
      FINANCIAL INFORMATION. FINANCIAL INFORMATION PROVIDED TO THE PROBATION
      OFFICE BY THE DEFENDANT MAYBE SHARED WITH THE FINANCIAL LITIGATION UNIT OF
      THE US ATTORNEY'S OFFICE.

      DURING THE PERIOD OF SUPERVISED RELEASE, THE DEFENDANT IS PROHIBITED FROM
      CONTACTING OR BEING IN THE COMPANY OF ANY MEMBERS OF THE OUTLAWS
      MOTORCYCLE CLUB.




                       Continuation of Conditions of 0 Supervised Release 0 Probation
                        Case 1:10-cr-10272-DPW Document 51 Filed 09/22/11 Page 4 of 13

 ~AO 245B(05-MA)        (Rev 06/05) Judgment in a Criminal Case
                        Sheet 5 - D. Massachusetts - 10105

                                                                                                                                Judgment -           Page       4     of     10
  DEFENDANT:
  CASE NUMBER: 1: 10 CR 10272                        - 001 - DPW
                                                CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment                                                                                                               Restitution
  TOTALS            $                $100.00                                $                                                            $                  $7,928.50


  D The determination of restitution is deferred until                      An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after such determination.

 [Z] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
       the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
       before the United States is paid.

  Name of Payee                                Total Loss"                              Restitution Ordered                                                 Priority or Percentage

Fireman's Ins. Co.                                                                                         $7,928.50

Attn: Tom Petersik
2441 Warrenville Road
Suite 300
Lisle, IL, 60535




                                                                                                                                                               IZl See Continuation
                                                                                                                                                                    Page

  TOTALS                              $                           $0.00             $              ----'$~7"""',9....;;;;2...;;..8.;.;;..50._.



  D     Restitution amount ordered pursuant to plea agreement $


  IZl The  defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).


 D The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       D the interest requirement is waived for the 0                fine       0   restitution.

       D the interest requirement for the D fine D restitution is modified as follows:
  * Findings for the total amount of losses are required under Chapters 109A, 1] 0, I lOA, and 1] 3A ofTitJe 18 for offenses committed on or after
  September 13, 1994, but before April 23, 1996.
                  Case 1:10-cr-10272-DPW Document 51 Filed 09/22/11 Page 5 of 13

~AO 245B(05-MA)   (Rev. 06/05) Judgment in a Criminal Case
                  Sheet 5A - D. Massachusetts - 10/05

                                                                                 Judgment-Page _5_ of              10
DEFENDANT:
CASE NUMBER:         1: 10 CR 10272               - 001 - DPW

                  ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES

 The defendant shall notify the United States Attorney for this district within 30 days of any change of mailing
 or residence address that occurs while any portion of the restitution remains unpaid.
                      Case 1:10-cr-10272-DPW Document 51 Filed 09/22/11 Page 6 of 13

~AO 245B(05-MA)      (Rev 06/05) Judgment in a Criminal Case
                     Sheet 6 - D Massachusetts - 10/05

                                                                                                     Judgment -    Page         6   of       10
DEFENDANT:
CASE NUMBER: 1: 10 CR 10272                        - 001 - DPW

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A    D    Lump sum payment of $                                due immediately, balance due

           o    not later than                                    , or
           o    in accordance         o     C,    0     D,      o   E, or     0 F below; or
B D       Payment to begin immediately (may be combined with                0 C,   o    D, or   0 F below); or
c D        Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D D       Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E         Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F         Special instructions regarding the payment of criminal monetary penalties:

     DEFENDANT SHALL PAY THE SPECIAL ASSESSMENT OF $100.00, AND RESTITUTION OF
     $7,928.50, IMMEDIATELY OR ACCORDING TO A PAYMENT PLAN ESTABLISHED BY THE COURT
     IN CONSULTATION WITH THE PROBATION OFFICER.


Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of PrISons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receivf: credit for all payments previously made toward any criminal monetary penalties imposed.




 D Joint and Several                                                                                                           o    See Continuation
                                                                                                                                    Page
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




 D   The defendant shall pay the cost of prosecution.

 D The defendant shall pay the following court cost(s):
 D The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest. (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
                      Case 1:10-cr-10272-DPW Document 51 Filed 09/22/11 Page 7 of 13

AO 245B   (Rev. 06/05) Criminal Judgment
          Attachment (Page I) - Statement of Reasons - D. Massachusetts - 10/05

                                                                                                                           Judgment -        Page    7 of        10
DEFENDANT:
CASE NUMBER: 1: ]0 CR 10272 - 001 - DPW
DISTRICT:     MASSACHUSETTS
                                                            STATEMENT OF REASONS

      COURT FINDINGS ON PRESENTENCE INVESTIGATION REPORT

      A   ~       The court adopts the presentence investigation report without change.

      B O T h e court adopts the presentence investigation report with the following changes.
                  (Check all that apply and specify court detenminallon, findings, or comments, referencing paragraph numbers in the presentence report, ifapplicable.)
                  (Use Section VIIl if necessary)

                  o Chapter Two of the V.S.S.G. Manual detenminations by court (including changes to base offense level. or
                       specific offense characteristics):



          2       0    Chapter Three of the V.S.S.G. Manual detenminations by court (including changes to victim-related adjustments,
                       role in the offense, obstruction of justice, multiple counts, or acceptance of responsibility)



          3       0    Chapter Four of the V.S.S.G. Manual detenminations by court (includmg changes to criminal history category or
                       scores, career offender, or criminal livelihood determinations).



          4       0    Additional Comments or Findings (including comments or factual findings concerning certain infonmation in the
                       presentence report that the Federal Bureau of Prisons may rely on when it makes inmate classification, designation.
                       or programming decisions):



      C   0       The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32.

II    COURT FINDING ON MANDATORY MINIMUM SENTENCE (Check all that apply.)

      A           No count of conviction carries a mandatory minimum sentence.

      8   o       Mandatory mmimum sentence Imposed.

      C   o       One or more' counts of conviction alleged in the indictment carry a mandatory mmimum term of imprisonment, but the
                  sentence imposed IS below a mandatory minimum term because the court has detenmined that the mandatory minimum
                  does not apply based on

                  o findings of fact in this case
                  o substantial assistance (18 USC ~ 3553(e»
                  o the statutory safety valve (18 U.Sc. ~ 3553(1))


III   COURT DETERMINATION OF ADVISORY GUIDELINE RANGE (BEFORE DEPARTURES):

      Total Offense Level:        8
      Criminal History Category:
      Imprisonment Range:      0        to 6            months
      Supervised Release Range: 2               to              years
      Fine Range: $ 1,000           to $ 10.000
      I;i! Fine waived or below the guideline range because of inability to pay.
                            Case 1:10-cr-10272-DPW Document 51 Filed 09/22/11 Page 8 of 13

AO 245B (05-MA)         (Rev. 06/05) Criminal Judgment
                        Attachment (Page 2) - Statement of Reasons - D Massachusetts - 10105

                                                                                                                              Judgment -      Page     8 of          10
DEFENDANT:
CASE NUMBER: 1: 10 CR 10272 - 001 - DPW
DISTRICT:     MASSACHUSETTS
                                                              STATEMENT OF REASONS
IV    ADVISORY GUIDELINE SENTENCING DETERMINATION (Check only one.)

      A~                The sentence is within an advisory guideline range that is not greater than 24 months, and the court finds no reason to depart.


      B 0               The sentence is within an advisory guideline range that is greater than 24 months, and the specific sentence is imposed for these reasons.
                        (Use Section VlII if necessary.)



      C 0               The court departs from the advisory guideline range for reasons authorized by the sentencing guidelines manual.
                        (Also complete Section V.)

      D 0               The court imposed a sentence outside the advisory sentencing guideline system. (Also complete Section VI.)


V     DEPARTURES AUTHORIZED BY THE ADVISORY SENTENCING GUIDELINES (If applicable.)
      A      The sentence imposed departs (Check only one.):
             D     below the advisory guideline range
             D     above the advisory guideline range

      8      Departure based on (Check all that apply.):
                             Plea Agreement (Check all that apply and check reason(s) below.):
                             D      5K 1.1 plea agreement based on the defendant's substantial assistance
                             D      5K3.1 plea agreement based on Early Disposition or "Fast-track" Program
                             D      binding plea agreement for departure accepted by the court
                             D      plea agreement for departure, which the court finds to be reasonable
                             D      plea agreement that states that the government will not oppose a defense departure motion.

             2               Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
                             D      5K 1.1 government motion based on the defendant's substantial assistance
                             D      5K3.1 government motion based on Early Disposition or "Fast-track" program
                             D      government motion for departure
                             D      defense motion for departure to which the government did not object
                             D      defense motion for departure to which the government objected

             3               Other
                             D      Other than a plea agreement or motion by the parties for departure (Check reason(s) below.):

      C          Reason(s) for Departure (Check all that apply other than 5K 1.1 or 5K3.1.)

0    4A13         Crimmal HIstory :Inadequacy                D 5K2 I Death                                          D 5K2.11 Lesser Hann
D    5HU          Age                                        D 5K2.2 Physical Injury                                D 5K212 Coercion and Duress
D    5HU          Education and Vocational Skills            D 5K2.3 Extreme Psychological Injury                   D 5K2.t3 Diminished Capacity
D    5Hl.3        Mental and Emotional Condition             D 5K24 Abduction or Unlawful Restraint                 D 5K2.14 Public Welfare
D    5H14         Physical Condition                         D 5K2.5 Property Damage or Loss                        D 5K2.16 Voluntary Disclosure of Offense
D    5HU          Employment Record                          D 5K2.6 Weapon or Dangerous Weapon                     D 5K2.\7 High-Capacity, Semiautomatic Weapon
D    5H1.6        FamIly Ties and Responsibilities           D 5K2.7 Disruption of Government Function              D 5K2.18 Violent Street Gang
D    5H 1.11      Military Record, Chantable Service,        D 5K2.8 Extreme Conduct                                D 5K220 Aberrant Behavior
                  Good Works
                                                             D 5K29 Crimmal Purpose                                 D 5K2.2\ DIsmissed and Uncharged Conduct
D    5K2.0        Aggravating or Mitlgatmg Circumstances     D 5K2 10 Victim's Conduct                              D 5K222 Age or Health of Sex Offenders
                                                                                                                    D 5K223 Discharged Terms of Imprisonment
                                                                                                                    D Other gUIdeline basis (e.g, 2BI I commentary)
      o          Explain the facts justifying the departure. (Use Section Vlll if necessary.)
                        Case 1:10-cr-10272-DPW Document 51 Filed 09/22/11 Page 9 of 13

AO 245B (05-MA) (Rev 06105) Criminal Judgment
                Attachment (Page 3) - Statement of Reasons - O. Massachusetts 10105

                                                                                                                           Judgment -         Page    9   of       10
DEFENDANT:
CASE NUMBER: 1: 10 CR 10272 - 001 - DPW
DISTRICT:     MASSACHUSETTS
                                                           STATEMENT OF REASONS
VI    COURT DETERMINATION FOR SENTENCE OUTSIDE THE ADVISORY GUIDELINE SYSTEM
      (Check all that apply.)
      A      The sentence imposed is (Check only one.):
             D below the advisory guideline range
             D above the advisory guideline range
      B      Sentence imposed pursuant to (Check all that apply.):
                         Plea Agreement (Check all that apply and check reason(s) below.):
                         D      binding plea agreement for a sentence outside the advisory guideline system accepted by the court
                         D      plea agreement for a sentence outside the advisory guideline system, which the court finds to be reasonable
                         D      plea agreement that states that the government will not oppose a defense motion to the court to sentence outside the advisory guideline
                                system

             2           Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
                         D      government motion for a sentence outside of the advisory gUldel ine system
                         D      defense motion for a sentence outside of the advisory guidel ine system to which the government did not object
                         D      defense motion for a sentence outside ofthe advisory guideline system to which the govemment objected

             3           Other
                         D      Other than a plea agreement or motion by the parties for a sentence outside of the advisory guideline system (Check reason(s) below)

      C      Reason(s) for Sentence Outside the Advisory Guideline System (Check all that apply.)

             D the nature and circumstances of the offense and the history and characteristics of the defendant pursuant to 18 U.S.C § 3553(a)( J)
             D to reflect the s,~riousness of the offense, to promote respect for the law, and to provide just punishment for the offense (18 USC § 3553(a)(2)(A))
             D to afford adequate deterrence to criminal conduct (18 USC § 3553(a)(2)(B))
             D to protect the public from further crimes of the defendant (18 U.S.C § 3553(a)(2)(C))
             D to provIde the defendant with needed educational or vocational training. medical care, or other correctional treatment in the most effectIve manner
                 ( 18 USC § 3553(a)(2)(0))
             D to avoid unw3lTanted sentencing disparities among defendants (18 USC § 3553(a)(6))
             D to provide restitution to any victims of the offense (18 US.C § 3553(a)(7))

      D      Explain the fads justifying a sentence outside the advisory guideline system. (UseSection Vlll if necessary.)
                        Case 1:10-cr-10272-DPW Document 51 Filed 09/22/11 Page 10 of 13
AO 245B ( 05-MA) (Rev 06105) Criminal Judgment
                 Attachment (Page 4) - Statement of Reasons - D. Massachusetts - 10105

                                                                                                                           Judgment -       Page     10 of         10
DEFENDANT:
CASE NUMBER:              1: 10 CR 10272                 - 001 - DPW
DISTRICT:                  MASSACHUSETTS

                                                            STATEMENT OF REASONS

 VII   COURT DETERMINATIONS OF RESTITUTION

       A      o     Restitution Not Applicable.
                                                       7,928.50
        B     Total Amount of Restitution:


        C     Restitution not ordered (Check only one.):


                    o For offenses for which restitution is otherwise mandatory under 18 u.s.c 9 3663A, restitution is not ordered because the number of
                          Identifiable victims is so large as to make restitution impracticable under 18 USC 93663A(c)(3)(A)

              2     0     For offenses for which restitution is otherwise mandatory under 18 U.s.c 9 3663A, restitution is not ordered because determining complex
                         Issues of fact and relating them to the cause or amount of the victims' losses would complicate or prolong the sentencing process to a degree
                         that the need to provide restitution to any victim would be outweighed by the burden on the sentencing process under 18 US.C 93663A(c)(3)(B)

              3     0    For other offenses for which restitution is authorized under \8 u.sc 9 3663 and/or required by the sentencing guidelines, restitution IS not
                         ordered because the complication and prolongation of the sentencing process resulting from the fashioning of a restitution order outweigh
                         the need to provide restitution to any victims under 18 U.S.C 93663(a)(I)(B)(ii)

              4     0     Restitution is not ordered for other reasons (Explain.)




        D     0     Partial restitution is ordered for these reasons (18 U.S.C. § 3553(c)):




 VIII ADDITIONAL FACTS JUSTIFYING THE SENTENCE IN THIS CASE (If applicable.)




                      Sections I, II, III, IV, and VII of the Statement of Reasons form must be completed in all felony cases.

 Defendant's Soc. Sec. No.:
                                    000-00- I 345


 Defendant's Date of Birth:
                                    xx/xxII 971

 Defendant's Residence Address:          Melrose, MA                                                 Signat re of Judge
                                                                                                 The Honorable Douglas P. Woodlock              Judge, U.S. District Court
 Defendant's Mailing Address:                                                                         Name and Titl~l~~
                                                                                                      Date Signed        ,}~ltlM~" 2l, lIJII
      Case 1:10-cr-10272-DPW Document 51 Filed 09/22/11 Page 11 of 13




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                       )
                                               )
                 v.                            )       Criminal No. 10-10272-DPW
                                               )
1. KEVIN CHARBONIER,                           )
      a/k/a "CHARBO",                          )
                  Defendant.                   )


                      ORDER OF FORFEITURE (MONEY JUDGMENT)

WOODLOCK, D.J.

       WHEREAS, on September 2, 2010, a federal grand jury sitting in the District of

Massachusetts returned a one-count Indictment charging defendant Kevin Charbonier (the

"Defendant") and another with conspiracy to commit mail and wire fraud, in violation of 18

U.S.C. § 371 (Count One);

       WHEREAS, the Indictment also contained a forfeiture allegation, pursuant to 18 U.S.c.

§ 981 (a)(l )(C) and 28 U.S.c. § 2461 (c) which provided notice that the United States sought the

forfeiture, upon conviction of the Defendant of any offense alleged in Count One of the

Indictment, of any property, real or personal, that constitutes, or is derived from, proceeds

traceable to the commission of the offense;

       WHEREAS, the Indictment further provided that, if any of the above-described

forfeitable property, as a result of any act or omission by the Defendant, (a) cannot be located

upon the exercise of due diligence; (b) has been transferred or sold to, or deposited with, a third

party; (c) has been placed beyond the jurisdiction of the Court; (d) has been substantially

diminished in value; or (e) has been commingled with other property which cannot be divided

without difficulty, the United States is entitled to seek forfeiture of any other property of the
         Case 1:10-cr-10272-DPW Document 51 Filed 09/22/11 Page 12 of 13




Defendant, up to the value of such assets, pursuant to 18 U.S.C. § 981 and 28 U.S.C. § 2461(c);

         WHEREAS, on May 17,2011, at a hearing pursuant to Rule 11 of the Federal Rules of

Criminal Procedure, the Defendant pled guilty to Count One of the Indictment, pursuant to a

written plea agreement that he signed on May 17,2011. In Section 8 ofthe plea agreement, the

Defendant agreed to forfeit to the United States $2,000 in United States currency on the grounds

that such amount constitutes, or is derived from, proceeds traceable to the commission of the

offense charged in Count One;

         WHEREAS, based on the Defendant's admissions in the written plea agreement and his

guilty plea on May 17, 2011, the United States is entitled to an Order of Forfeiture consisting of a

personal money judgment against the Defendant in the amount of $2,000 in United States currency,

pursuant to] 8 U.S.C. § 981 (a)(l)(C) and 28 U.S.C. § 2461(c). This amount represents the proceeds

of the Defendant's crimes; and

         WHEREAS, Rule 32.2(c)(l) of the Federal Rules of Criminal Procedure provides that "no

ancillary proceeding is required to the extent that the forfeiture consists of a money judgment.'·

         ACCORDINGLY, it is hereby ORDERED, ADJUDGED, and DECREED:

          ].    The Defendant shall forfeit to the United States the sum of $2,000 in United

States currency, pursuant to 18 U.S.C. § 981 (a)(l)(C) and 28 U.S.c. § 2461(c) .

         2.     This Court shall retain jurisdiction in the case for the purpose of enforcing this

Order.

         3.     The United States may, at any time, move pursuant to Rule 32.2(e) of the Federal

Rules of Criminal Procedure to amend this Order to substitute property having a value not to

exceed the amount set forth in Paragraph 1 to satisfy the money judgment in whole or in part.


                                                   2
      Case 1:10-cr-10272-DPW Document 51 Filed 09/22/11 Page 13 of 13




       4.      The United States may, at any time, conduct pursuant to Rule 32.2(b)(3) ofthe

Federal Rules of Criminal Procedure and 21 U.S.c. § 853(m), as incorporated by 28 U.S.c.

§ 2461 (c), any discovery to identify, locate or dispose of forfeitable property or substitute assets,

including, but not limited to, depositions and requests for documents, electronically stored

information, and tangible things.

       5.      Pursuant to Rule 32.2(b)(4), this Order shall be included in the sentence

pronounced and imposed by the Court at the sentencing hearing, and in the criminal judgment

entered by this Court against the Defendant.



                                                        )VVJ!'n f !()uJ/"I ~
                                                       DoudLASP.WOODLOCK
                                                       United States District Judge




                                                  3
